Case 1:21-cr-00175-TJK Document 100-1 Filed 06/15/21 Page 1 of 12




           EXHIBIT 1
                        Case 1:21-cr-00175-TJK Document 100-1 Filed 06/15/21 Page 2 of 12
                                                                        - 1 of 11 -
FD-302 (Rev. 5-8-10)

                                                  FEDERAL BUREAU OF INVESTIGATION




                                                                                                                          Date of entry       04/14/2021



        On April 13, 2021, Task Force Officer (TFO) Rik Hall reviewed 637
        "telegram-cloud-documents" audio files from the forensic extraction of Ethan
        Nordean's iPhone 8 plus, phone number 253-508-0207 for items relevant to the
        investigation regarding the Ethan Nordean's participation at the United
        States Capitol in Washington D.C. on January 6, 2021.

        During the review, TFO Hall observed there were audio files contained on the
        phone which included, but were not limited to discussions relevant to the
        January 6, 2021 event, discussions regarding Enrique Tarrio, discussions
        regarding an individual referenced as "Brian James" and some general banter
        between members within the telegram chat(s). Some of the files reference or
        are directed to Ethan Nordean, some toward other members and some are by
        Ethan Nordean.

        A spreadsheet of the files and the associated audio files are attached
        hereto and made a part hereof by this reference.

        The summary of each audio file does not represent the totality of the
        content within each respective audio file but is used merely as a reference
        for the individual reviewing the thirty-nine attached audio files.

                                                                                                  Accessed-
            #                          Audio File Name                                                                          Summary
                                                                                                    Time
                                                                                                            Individual
                                                                                                            comments that he
                                                                                                            is curious about
                                                                                                            the specifics in
                                                                                                  2/1/2021
                telegram-cloud-document-2-                                                                  the Proud Boy
        1                                                                                         6:51:38
                5242749523188517442_Converted.wav                                                           cases as they
                                                                                                  AM(UTC-8)
                                                                                                            don't prosecute
                                                                                                            unless they have a
                                                                                                            "completely locked
                                                                                                            case"
        2 telegram-cloud-document-2-                                                              2/1/2021 Individual




   Investigation on    04/13/2021           at   Seattle, Washington, United States (In Person)

   File #   266O-SE-3380382, 176-WF-3366759-NORDEAN                                                                          Date drafted    04/14/2021

   by   HALL RIK HENDRIK
  This document contains neither recommendations nor conclusions of the FBI. It is the property of the FBI and is loaned to your agency; it and its contents are not
  to be distributed outside your agency.
FD-302a (Rev. 5-8-10)       Case 1:21-cr-00175-TJK Document 100-1 Filed 06/15/21 Page 3 of 12

          266O-SE-3380382
                            (U) Review of Audio Files recovered from
Continuation of FD-302 of   Ethan Nordean's Cellular Phone              , On   04/13/2021   , Page   2 of 11




              5242316109448744307_partial_Converted.wav 7:23:30 comments that he
                                                        AM(UTC-8) believes that the
                                                                  charges as just
                                                                  for a chilling
                                                                  effect
                                                                  Individual
                                                                  comments that he
                                                        2/1/2021
              telegram-cloud-document-1-                          believes that "we
          3                                             7:02:44
              4956269702692209233_partial_Converted.wav           are fucked"…"they
                                                        PM(UTC-8)
                                                                  are coming for
                                                                  us…"
                                                                  Individual
                                                                  commenting to
                                                        2/1/2021 another individual
              telegram-cloud-document-1-
          4                                             5:47:32 that he believes
              4956269702692209082_Converted.wav
                                                        PM(UTC-8) he is a bad
                                                                  cub?cop? because
                                                                  they disagree.
                                                                  Individual
                                                                  comments that he
                                                        2/1/2021
              telegram-cloud-document-1-                          hates bad cops and
          5                                             5:47:20
              4956269702692209080_Converted.wav                   that he believes
                                                        PM(UTC-8)
                                                                  the other person
                                                                  to be a bad cop.
                                                                  Individual
                                                                  comments that they
                                                                  have been around
                                                                  the block a time
                                                                  or two, that the
                                                                  "Warboys" went to
                                                                  DC and that it
                                                                  "...completely
                                                                  fucking crashes
                                                                  and burns on
                                                        2/1/2021
              telegram-cloud-document-1-                          us…good job with
          6                                             2:48:23
              4954211069032661686_partial_Converted.wav           the comms, good
                                                        PM(UTC-8)
                                                                  job with security,
                                                                  good job with
                                                                  legal..I mean fuck
                                                                  'tifa looks like
                                                                  professionals
                                                                  compared to
                                                                  us...It's already
                                                                  fucked. You had
                                                                  your play in
                                                                  that."
FD-302a (Rev. 5-8-10)       Case 1:21-cr-00175-TJK Document 100-1 Filed 06/15/21 Page 4 of 12

          266O-SE-3380382
                            (U) Review of Audio Files recovered from
Continuation of FD-302 of   Ethan Nordean's Cellular Phone              , On   04/13/2021   , Page   3 of 11




                                                                 Individual
                                                                 comments about
                                                                 that the people
                                                       2/1/2021
             telegram-cloud-document-1-                          that go to rallies
          7                                            9:40:05
             4954211069032661529_Converted.wav                   are the ones
                                                       AM(UTC-8)
                                                                 bringing negative
                                                                 attention to the
                                                                 Proud Boys
                                                                 Individual
                                                                 comments "Twenty
                                                                 goddam years? Man,
                                                       2/1/2021
             telegram-cloud-document-1-                          no matter what we
          8                                            8:08:04
             4954211069032661450_Converted.wav                   do they're going
                                                       AM(UTC-8)
                                                                 to throw the
                                                                 fucking book at
                                                                 us."
                                                                 Individual
                                                                 comments that
                                                       2/1/2021
             telegram-cloud-document-1-                          another is looking
          9                                            8:08:26
             4954211069032661444_partial_Converted.wav           at twenty years
                                                       AM(UTC-8)
                                                                 and it isn't the
                                                                 time
                                                                 Ethan Nordean
                                                                 comments that
                                                                 about another
                                                                 while he is
                                                       2/1/2021
             telegram-cloud-document-1-                          looking to
          10                                           7:47:07
             4954211069032661428_Converted.wav                   "...mend some of
                                                       AM(UTC-8)
                                                                 this bullshit that
                                                                 people keep
                                                                 friggin 'digging
                                                                 up."
                                                                 Ethan Nordean
                                                       2/1/2021
             telegram-cloud-document-1-                          comments that it
          11                                           7:39:21
             4954211069032661418_Converted.wav                   isn't helpful to
                                                       AM(UTC-8)
                                                                 publicly respond.
                                                                 Individual
                                                                 comments that if
                                                                 the feds have
                                                                 enough evidence
                                                       2/1/2021
             telegram-cloud-document-1-                          they are not going
          12                                           6:51:28
             4954211069032661339_partial_Converted.wav           to offer much of a
                                                       AM(UTC-8)
                                                                 plea, that he
                                                                 believes that the
                                                                 feds don't charge
                                                                 until they have a
FD-302a (Rev. 5-8-10)       Case 1:21-cr-00175-TJK Document 100-1 Filed 06/15/21 Page 5 of 12

          266O-SE-3380382
                            (U) Review of Audio Files recovered from
Continuation of FD-302 of   Ethan Nordean's Cellular Phone              , On   04/13/2021   , Page   4 of 11




                                                                 lot of evidence.
                                                                 Individual
                                                                 comments about
                                                                 high federal
                                                       2/1/2021
             telegram-cloud-document-1-                          conviction rate
          13                                           6:51:28
             4954211069032661337_partial_Converted.wav           and federal time
                                                       AM(UTC-8)
                                                                 and that pleading
                                                                 guilty is the
                                                                 course of action
                                                                 Individual
                                                                 comments about
                                                                 indictments and
                                                       2/1/2021
             telegram-cloud-document-1-                          the subsequent
          14                                           6:51:38
             4954211069032661317_Converted.wav                   high rate of
                                                       AM(UTC-8)
                                                                 conviction and
                                                                 high rate of time
                                                                 served
                                                                 Ethan Nordean
                                                                 comments about
                                                       2/1/2021 dealing with
             telegram-cloud-document-1-
          15                                           9:18:55 issues and people
             4954017902878523672_Converted.wav
                                                       AM(UTC-8) commenting that he
                                                                 needs a long break
                                                                 after this
                                                                 Individual
                                                       2/1/2021 comments to Ethan
             telegram-cloud-document-1-
          16                                           9:09:37 that he apologizes
             4954017902878523671_partial_Converted.wav
                                                       AM(UTC-8) and wants the club
                                                                 to succeed.
                                                                 Individual
                                                                 comments that
                                                       2/1/2021 Rufio got "lost in
             telegram-cloud-document-1-
          17                                           9:06:54 the sauce."
             4954017902878523666_Converted.wav
                                                       AM(UTC-8) Comments that
                                                                 Enrique should
                                                                 step down.
                                                                 Ethan Nordean
                                                                 comments that "I
                                                                 understand where
                                                                 we're at in the
                                                       2/1/2021 frat. I understand
             telegram-cloud-document-1-
          18                                           9:03:55 that we've taken
             4954017902878523664_Converted.wav
                                                       AM(UTC-8) some risks that we
                                                                 shouldn't have
                                                                 taken. We've done
                                                                 some things we
FD-302a (Rev. 5-8-10)       Case 1:21-cr-00175-TJK Document 100-1 Filed 06/15/21 Page 6 of 12

          266O-SE-3380382
                            (U) Review of Audio Files recovered from
Continuation of FD-302 of   Ethan Nordean's Cellular Phone              , On   04/13/2021   , Page   5 of 11




                                                                           shouldn't have
                                                                           done. Ok but
                                                                           they've been done
                                                                           and we need to
                                                                           learn from em."
                                                                           States that he
                                                                           hasn't been in the
                                                                           chats lately to
                                                                           ask for thanks or
                                                                           any praise at all
                                                                           or to debate his
                                                                           position as a
                                                                           rallier. States he
                                                                           is no longer a
                                                                           Trump supporter
                                                                           and would take
                                                                           back doing the
                                                                           rallies for Trump
                                                                           that he would. He
                                                                           says he thought
                                                                           they were fighting
                                                                           for some secret
                                                                           plan that didn't
                                                                           come to fruition
                                                                           and that Trump
                                                                           hanging high and
                                                                           dry. And that
                                                                           Trump condemned
                                                                           their action at
                                                                           the capitol. Says
                                                                           that he isn't a
                                                                           rally guy anymore.
                                                                           He doesn't
                                                                           disagree that
                                                                           things went bad.
                                                                           He says he cares
                                                                           about leading
                                                                           guys. He says that
                                                                           most of the time
                                                                           he goes to the
                                                                           rallies because
                                                                           their is a lack of
                                                                           leadership and
                                                                           that is his
                                                                           motivation.
               telegram-cloud-document-1-                         2/1/2021 Individual
          19
FD-302a (Rev. 5-8-10)       Case 1:21-cr-00175-TJK Document 100-1 Filed 06/15/21 Page 7 of 12

          266O-SE-3380382
                            (U) Review of Audio Files recovered from
Continuation of FD-302 of   Ethan Nordean's Cellular Phone              , On   04/13/2021   , Page   6 of 11




             4954017902878523663_partial_Converted.wav 9:01:50 comments that he
                                                       AM(UTC-8) didn't mean any
                                                                 disrespect to
                                                                 Rufio, that he
                                                                 just wants him to
                                                                 see another side
                                                                 and that they need
                                                                 to change, to not
                                                                 keep secrets. He
                                                                 doesn't feel that
                                                                 DC was a success.
                                                                 He says that Rufio
                                                                 brings credibility
                                                                 that guys listen
                                                                 to him.
                                                                 Individual
                                                                 comments that
                                                                 "Rufio has already
                                                       2/1/2021
             telegram-cloud-document-1-                          said like ten
          20                                           9:00:06
             4954017902878523662_partial_Converted.wav           times that he
                                                       AM(UTC-8)
                                                                 fucked up. So why
                                                                 are we rubbing it
                                                                 in his face…"
                                                                 Individual
                                                                 comments that he
                                                                 is confused about
                                                                 what happened in
                                                       2/1/2021 DC because they
             telegram-cloud-document-1-
          21                                           9:00:06 thought that they
             4954017902878523661_partial_Converted.wav
                                                       AM(UTC-8) had voted to not
                                                                 go to DC. He hates
                                                                 that guys went and
                                                                 it was easily
                                                                 unavoidable.
                                                                 Individual
                                                                 comments to Ethan
                                                                 that he was
                                                                 mentioned in the
                                                       2/1/2021
             telegram-cloud-document-1-                          Biggs indictment
          22                                           9:00:06
             4954017902878523660_Converted.wav                   and mentioned
                                                       AM(UTC-8)
                                                                 others that were
                                                                 arrested/indicted.
                                                                 He doesn't believe
                                                                 it went well.
             telegram-cloud-document-1-                2/1/2021  Individual
          23                                           8:59:56 commenting to
             4954017902878523656_Converted.wav
FD-302a (Rev. 5-8-10)       Case 1:21-cr-00175-TJK Document 100-1 Filed 06/15/21 Page 8 of 12

          266O-SE-3380382
                            (U) Review of Audio Files recovered from
Continuation of FD-302 of   Ethan Nordean's Cellular Phone              , On   04/13/2021   , Page   7 of 11




                                                       AM(UTC-8) Aaron. Said that
                                                                 Ethan brought
                                                                 himself into it,
                                                                 they had already
                                                                 agreed to not to
                                                                 do any rallies.
                                                                 Said he would
                                                                 never thank a
                                                                 rally boy.
                                                                 Ethan Nordean said
                                                       2/1/2021 that he and other
             telegram-cloud-document-1-
          24                                           8:59:56 guys led others so
             4954017902878523655_Converted.wav
                                                       AM(UTC-8) they didn't go
                                                                 astray.
                                                                 Individual
                                                                 commenting to
                                                                 others that Ethan
                                                       2/1/2021 said that people
             telegram-cloud-document-1-
          25                                           8:59:56 should be thankful
             4954017902878523654_partial_Converted.wav
                                                       AM(UTC-8) that he was at the
                                                                 rally, not
                                                                 thanking him for
                                                                 his service
                                                                 Individual
                                                       2/1/2021 commenting that he
             telegram-cloud-document-1-
          26                                           8:59:56 is anti-rally now,
             4954017902878523653_Converted.wav
                                                       AM(UTC-8) that he used to be
                                                                 pro-rally.
                                                                 Individual
                                                       2/1/2021 commenting about
             telegram-cloud-document-1-
          27                                           8:59:56 how Ethan said
             4954017902878523652_Converted.wav
                                                       AM(UTC-8) that you should be
                                                                 thanking me
                                                                 Ethan Nordean
                                                                 asked how he was
                                                                 asking for thanks.
                                                                 Ethan states that
                                                                 he is trying to
                                                       2/1/2021 mend the club and
             telegram-cloud-document-1-
          28                                           8:59:56 doesn't want Brian
             4954017902878523650_Converted.wav
                                                       AM(UTC-8) James stirring the
                                                                 pot. Says he has a
                                                                 pretty good
                                                                 reputation doing
                                                                 rallies in the
                                                                 pacific northwest
FD-302a (Rev. 5-8-10)       Case 1:21-cr-00175-TJK Document 100-1 Filed 06/15/21 Page 9 of 12

          266O-SE-3380382
                            (U) Review of Audio Files recovered from
Continuation of FD-302 of   Ethan Nordean's Cellular Phone              , On   04/13/2021   , Page   8 of 11




                                                                 but that he didn't
                                                                 plan the national
                                                                 rallies.
                                                                 Individual
                                                                 commenting to
                                                       2/1/2021 Aaron that "He's
             telegram-cloud-document-1-
          29                                           8:59:56 admitting he
             4954017902878523649_partial_Converted.wav
                                                       AM(UTC-8) fucked up now, but
                                                                 thank him for what
                                                                 he's done"
                                                                 Individual
                                                                 commenting that it
                                                                 is a disconnect
                                                                 that Biggs has
                                                       2/1/2021
             telegram-cloud-document-1-                          too. That now he
          30                                           8:59:56
             4954017902878523647_partial_Converted.wav           wants thanks for
                                                       AM(UTC-8)
                                                                 what he's done.
                                                                 Thinks he should
                                                                 stop going to
                                                                 rallies.
                                                                 Ethan Nordean is
                                                                 wondering what is
                                                                 the problem with
                                                                 him. Ethan says
                                                       2/1/2021 that he has
             telegram-cloud-document-1-
          31                                           8:59:56 already admitted
             4954017902878523646_Converted.wav
                                                       AM(UTC-8) to everything that
                                                                 he is open to
                                                                 changing things
                                                                 and not doing
                                                                 rallies.
                                                                 Ethan Nordean says
                                                                 that he was asked
                                                                 to attend the last
                                                                 couple rallies. He
                                                                 said that he
                                                                 didn't plan them.
                                                       2/1/2021 He said that the
             telegram-cloud-document-1-
          32                                           8:59:56 last one, that
             4954017902878523644_Converted.wav
                                                       AM(UTC-8) "you should be
                                                                 lucky I was there.
                                                                 You know, I'm the
                                                                 guy that you want
                                                                 leading guys
                                                                 because I actually
                                                                 know how to do it
FD-302a (Rev. 5-8-10)   Case 1:21-cr-00175-TJK Document 100-1 Filed 06/15/21 Page 10 of 12

          266O-SE-3380382
                            (U) Review of Audio Files recovered from
Continuation of FD-302 of   Ethan Nordean's Cellular Phone             , On   04/13/2021   , Page   9 of 11




                                                                            and keep people in
                                                                            line versus if I
                                                                            wasn't there guys
                                                                            would probably be
                                                                            running off doing
                                                                            their own thing.
                                                                            That he doesn't
                                                                            recall an
                                                                            abundance of
                                                                            people asking him
                                                                            not to go, don't
                                                                            do this. He said
                                                                            that since it
                                                                            happened that he
                                                                            is one of the gust
                                                                            that has said they
                                                                            need to be smart.
                                                                            He wonders what
                                                                            problem people
                                                                            have with him not
                                                                            stopping and that
                                                                            they should be
                                                                            happy he was at
                                                                            some those rallies
                                                                            leading but that
                                                                            they will go on
                                                                            with or without
                                                                            him
                                                                            Individual
                                                                            comments that they
                                                                            aren't defending
                                                                            Brian James, they
                                                                            are just trying to
                                                                  2/1/2021 keep the main
               telegram-cloud-document-1-
          33                                                      8:59:56 issues in the
               4954017902878523643_Converted.wav
                                                                  AM(UTC-8) forefront. Not to
                                                                            let it fall to the
                                                                            back, not to lose
                                                                            focus on what
                                                                            started
                                                                            everything.
                                                                            Individual
                                                                  2/1/2021 commenting that no
               telegram-cloud-document-1-
          34                                                      8:45:50 one is saying that
               4954017902878523642_Converted.wav
                                                                  AM(UTC-8) Ethan didn't give
                                                                            up anything for
FD-302a (Rev. 5-8-10)   Case 1:21-cr-00175-TJK Document 100-1 Filed 06/15/21 Page 11 of 12

          266O-SE-3380382
                            (U) Review of Audio Files recovered from
Continuation of FD-302 of   Ethan Nordean's Cellular Phone             , On   04/13/2021   , Page   10 of 11




                                                                 the club, but
                                                                 wonders when did
                                                                 people asked him
                                                                 to stop. Was it
                                                                 after January 6th?
                                                                 After Beard got
                                                                 stabbed? That he
                                                                 doesn't believe
                                                                 that Ethan learns
                                                                 from his actions.
                                                                 That people listen
                                                                 to him. Trying to
                                                                 get people to wake
                                                                 up. That people
                                                                 are glad Ethan
                                                                 sees it now. It's
                                                                 time to stop, time
                                                                 to play a better
                                                                 hand.
                                                                 Individual
                                                                 commenting that
                                                       2/1/2021 some don't care
             telegram-cloud-document-1-
          35                                           8:41:10 who is doing what
             4954017902878523641_partial_Converted.wav
                                                       AM(UTC-8) as long as their
                                                                 agenda goes
                                                                 through
                                                                 Individual
                                                                 comments that
                                                                 others can talk
                                                                 about Ethan all
                                                       2/1/2021
             telegram-cloud-document-1-                          they want. He
          36                                           9:28:32
             4954017902878523640_partial_Converted.wav           tells others that
                                                       AM(UTC-8)
                                                                 Ethan has
                                                                 sacrificed and
                                                                 given everything
                                                                 for the club.
                                                                 Ethan Nordean
                                                                 comments that he
                                                                 openly stated that
                                                                 they should stop
                                                       2/1/2021
             telegram-cloud-document-1-                          rallying. He says
          37                                           9:28:32
             4954017902878523639_Converted.wav                   that there was a
                                                       AM(UTC-8)
                                                                 lot of them out
                                                                 their who thought
                                                                 they could reach
                                                                 the normies. He
FD-302a (Rev. 5-8-10)   Case 1:21-cr-00175-TJK Document 100-1 Filed 06/15/21 Page 12 of 12

          266O-SE-3380382
                            (U) Review of Audio Files recovered from
Continuation of FD-302 of   Ethan Nordean's Cellular Phone             , On   04/13/2021   , Page   11 of 11




                                                                 said that they
                                                                 learned the hard
                                                                 way. He says he
                                                                 cares about the
                                                                 club. He says that
                                                                 he hasn't said
                                                                 that he isn't
                                                                 opposed to change.
                                                                 He talks about how
                                                                 he has sacrified
                                                                 for the club.
                                                                 Ethan Nordean
                                                                 comments talking
                                                                 about a poll about
                                                                 someone else. He
                                                       2/1/2021
             telegram-cloud-document-1-                          says that he has
          38                                           9:28:32
             4954017902878523633_Converted.wav                   done some stuff
                                                       AM(UTC-8)
                                                                 that wasn't good
                                                                 for the club but
                                                                 that he needs to
                                                                 learn from it.
                                                                 Individual
                                                                 commenting about
                                                                 how he wants to
                                                                 pursue voting
                                                                 about individuals
                                                       2/1/2021 who are under
             telegram-cloud-document-1-
          39                                           8:31:05 indictment should
             4954017902878523613_partial_Converted.wav
                                                       AM(UTC-8) leave leadership
                                                                 position
                                                                 (Chairman, Elders
                                                                 and possibly
                                                                 Chapter
                                                                 President(s))
